Case 2:1

IN RE: NATIONAL FOOTBALL
LEAGUE’S “SUNDAY TICKET”
ANTITRUST LITIGATION,

THIS DOCUMENT RELATES TO:
ALL ACTIONS.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. 2:15-ml-02668-PSG (JEMx)

ORDER REGARDING
MODIFICATIONS TO
SCHEDULING ORDER

Case 2:1

schedule be adjusted as set forth below:

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Having considered the parties’ Joint Stipulation Regarding Modifications to
Scheduling Order and finding good cause therein, the Court ORDERS that the

Event Current Proposed

Close of Expert Discovery 6/30/23 7/7/23

Summary Judgment Motions 7/28/23 No change
Summary Judgment Oppositions 8/28/23 No change
Summary Judgment Reply Briefs 9/29/23 No change
Summary Judgment Hearing Date 10/27/23 No change
Final Pretrial Conference 2/9/24 No change
Tnal 2/22/24 No change

the changes above.

DATED? june 24, 2023

IT IS SO ORDERED.

No other changes to the Court’s prior orders are contemplated as a result of

Led Ee

PHILIP S. GUTIERREZ
Chief United States District Judge

